 Case: 1:22-cv-00043-MTS Doc. #: 11 Filed: 06/14/22 Page: 1 of 2 PageID #: 798




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                 SOUTHEASTERN DIVISION

DR. SHAMIK BHATTACHARYA, PHD,                      )
                                                   )
                Plaintiff,                         )
                                                   )
vs.                                                )
                                                   )     No. 1:22-cv-00043-MTS
THE BOARD OF REGENTS SOUTHEAST                     )
MISSOURI STATE UNIVERSITY, et. al.,                )
                                                   )
                Defendants.                        )
                                                   )

                     MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                       FOR DAMAGES AND EQUITABLE RELIEF

          COMES NOW Defendant, Board of Governors, Southeast Missouri State University and

individually named Defendants Edward P. Gargas, Tina L. Klocke, David C. Martin, Lloyd F.

Smith, James P. Limbaugh, Vivek Malik, Dr. Carlos Vargas, Dr. Mike Godard, Dr. Tamela

Randolph, Dr. Bradley Deken, and Alissa Davis, by and through counsel, and hereby respectfully

request that this Court grant this Motion to Dismiss Plaintiff Dr. Shamik Bhattacharya’s Complaint

under Federal Rule 12(b)(6) for failure to state a claim upon which relief may be granted. Each of

Plaintiff’s claims on their face demonstrate that Plaintiff’s is not entitled to the relief sought.

          WHEREREFORE, Defendant Board of Governors, Southeast Missouri State University

and individually named Defendants Edward P. Gargas, Tina L. Klocke, David C. Martin, Lloyd

F. Smith, James P. Limbaugh, Vivek Malik, Dr. Carlos Vargas, Dr. Mike Godard, Dr. Tamela

Randolph, Dr. Bradley Deken, and Alissa Davis respectfully requests an order dismissing all

counts of Plaintiff’s Complaint and for any such further relief this Court deems necessary and

proper.
 Case: 1:22-cv-00043-MTS Doc. #: 11 Filed: 06/14/22 Page: 2 of 2 PageID #: 799




                                                        ARMSTRONG TEASDALE LLP



                                                        By: /s/ Brittney J. Herron
                                                            Robert A. Kaiser, #31410MO
                                                            Brittney J. Herron, #69131MO
                                                            7700 Forsyth Blvd., Suite 1800
                                                            St. Louis, Missouri 63105
                                                            Telephone: 314.621.5070
                                                            Fax: 314.621.5065
                                                            rkaiser@atllp.com
                                                            bherron@atllp.com

                                                        ATTORNEYS FOR DEFENDANTS




                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 14, 2022, the foregoing was filed electronically with the Clerk

of Court to be served by operation of the Court’s electronic filing system upon all counsel of

record.

                                                       /s/ Brittney J. Herron




                                                   2
